 Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.1 Filed 07/19/23 Page 1 of 19




                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

 LYNDSEE MILLER, individually and Case No.
 on behalf of all others similarly situated,
                                             CLASS ACTION COMPLAINT
              Plaintiff,
                                             DEMAND FOR JURY TRIAL
 v.

 EXTREME LOANS LLC, a Michigan
 company,

               Defendant.


                         CLASS ACTION COMPLAINT

      Plaintiff Lyndsee Miller (“Plaintiff Miller” or “Miller”) brings this Class

Action Complaint and Demand for Jury Trial against Defendant Extreme Loans

LLC, (“Defendant” or “Extreme Loans”) to stop the Defendant from violating the

Telephone Consumer Protection Act (“TCPA”) by making telemarketing calls to

consumers without consent including calls to phone numbers that are registered on

the National Do Not Call registry (“DNC”) and to consumers who have expressly

requested that the calls stop. Plaintiff also seeks injunctive and monetary relief for

all persons injured by Defendant’s conduct. Plaintiff Miller, for this Complaint,

alleges as follows upon personal knowledge as to herself and her own acts and

experiences, and, as to all other matters, upon information and belief, including

investigation conducted by her attorneys.



                                                                                    1
 Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.2 Filed 07/19/23 Page 2 of 19




                                      PARTIES

      1.     Plaintiff Miller is a resident of Evansville, Indiana.

      2.     Defendant Extreme Loans is a company registered in Michigan, with

its headquarters located in Southfield, Michigan. Defendant Extreme Loans

conducts business throughout this District and throughout the US, including Indiana.

                          JURISDICTION AND VENUE

      3.     This Court has federal question subject matter jurisdiction over this

action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

Protection Act, 47 U.S.C. §227 (“TCPA”).

      4.     This Court has personal jurisdiction and venue is proper since

Defendant has its headquarters in this District and the wrongful conduct giving rise

to this case was directed from this District.

                                 INTRODUCTION

      5.     As the Supreme Court explained at the end of its term this year,

“Americans passionately disagree about many things. But they are largely united in

their disdain for robocalls. The Federal Government receives a staggering number

of complaints about robocalls—3.7 million complaints in 2019 alone. The States

likewise field a constant barrage of complaints. For nearly 30 years, the people’s

representatives in Congress have been fighting back.” Barr v. Am. Ass'n of Political

Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).



                                                                                  2
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.3 Filed 07/19/23 Page 3 of 19




         6.     When Congress enacted the TCPA in 1991, it found that telemarketers

called more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

         7.     By 2003, due to more powerful autodialing technology, telemarketers

were calling 104 million Americans every day. In re Rules and Regulations

Implementing the TCPA of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

         8.     The problems Congress identified when it enacted the TCPA have only

grown exponentially in recent years.

         9.     According to online robocall tracking service “YouMail,” 5.1 billion

robocalls were placed in May 2023 alone, at a rate of 164.0 million per day.

www.robocallindex.com (last visited July 2, 2023).

         10.    The FCC also has received an increasing number of complaints about

unwanted calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and

232,000        complaints      in     2018.     FCC,      Consumer      Complaint   Data

Center, www.fcc.gov/consumer-help-center-data.

         11.    “Robocalls and telemarketing calls are currently the number one source

of consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22,

2016), statement of FCC chairman.1

         12.    “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of


1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls


                                                                                       3
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.4 Filed 07/19/23 Page 4 of 19




Consumer Protection, In re Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, Notice of Proposed Rulemaking, CG Docket No.

02-278, at 2 (2016).2

                            COMMON ALLEGATIONS

        13.   Defendant Extreme Loans provides mortgage-related services

including loan refinancing for consumers.3

        14.   Defendant Extreme Loans places telemarketing cold calls to consumers

who have done a credit pull, as per Plaintiff’s experience, despite the fact that those

consumers have never provided consent to receive telemarketing calls.

        15.   Former Extreme Loans employees listed cold calling as part of their

jobs working for Extreme Loans on Linkedin:




                                                                                     4




2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
  https://extremeloans.com/about-us/
4
  https://www.linkedin.com/in/haley-lutherloh-6a698a149/

                                                                                            4
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.5 Filed 07/19/23 Page 5 of 19




                                                                                   5



         16.    In addition, Extreme Loans posted a video on its Facebook page stating

that one of its mortgage loan officers placed 30,000 cold calls, according to the dialer

screen that is set-up in the main office:




5
    https://www.linkedin.com/in/felixia-daniel-936410197/

                                                                                       5
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.6 Filed 07/19/23 Page 6 of 19




                                                                             6



         17.    Unfortunately, some of the calls from Extreme Loans are being placed

to consumers that registered their phone numbers on the DNC, as per Plaintiff’s

experience.

         18.    To make matters worse, Extreme Loans lacks a sufficient opt-out

system to ensure that a consumer who notifies Extreme Loans to stop calling them

will be removed from their calling list, again, as per Plaintiff’s experience.

         19.    A consumer posted a complaint online that Extreme Loans responded

to, alleging that his information was possibly acquired by Extreme Loans through a




6
    https://www.facebook.com/profile/100063756446392/search/?q=cold%20call

                                                                                    6
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.7 Filed 07/19/23 Page 7 of 19




credit bureau, causing him to receive unsolicited calls, despite having his phone

number registered on the DNC and despite opting-out from the calls:




                                                                               7



         20.   In response to these calls, Plaintiff Miller brings forward this case

seeking injunctive relief requiring the Defendant to cease from violating the TCPA,

as well as an award of statutory damages to the members of the Classes and costs.

                      PLAINTIFF MILLER’S ALLEGATIONS

         21.   Plaintiff Miller registered her cell phone number on the DNC on April

6, 2004.

         22.   Plaintiff Miller uses her cell phone number for personal use only as one

would use a landline telephone number in a home.




7
    https://www.google.com/search?q=Extreme+Loans

                                                                                     7
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.8 Filed 07/19/23 Page 8 of 19




          23.    The calls that Plaintiff Miller received from Defendant Extreme Loans

were all received more than 31 days after Plaintiff registered her cell phone number

on the DNC.

          24.    Toward the middle of June 2023, Plaintiff Miller had her credit pulled

by her bank.

          25.    Plaintiff Miller did not fill out any documentation online. She was not

looking to get a loan from any organization other than her bank.

          26.    As soon as her credit was pulled, Plaintiff Miller began receiving

unsolicited telemarketing calls to her cell phone regarding loans and refinancing.

The majority of the callers did not disclose a company name.

          27.    On June 14, 2023, Plaintiff Miller received an unsolicited call from

Extreme Loans to her cell phone, from 812-875-5008. She did not answer this call.

          28.    As will be explained, Plaintiff Miller was able to confirm that 812-875-

5008 is used by an Extreme Loans employee.

          29.    On June 14, 2023, Plaintiff Miller received a 2nd unsolicited call from

Extreme Loans to her cell phone, from 812-998-5157. This call was not answered.

          30.    812-998-5157 is owned/operated by Extreme Loans.8

          31.    On June 15, 2023, Plaintiff Miller received a 3rd unsolicited call from

Extreme Loans to her cell phone, from 812-783-1047. This call was not answered.


8
    Based on an investigation conducted by Plaintiff’s attorneys.

                                                                                       8
    Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.9 Filed 07/19/23 Page 9 of 19




          32.    812-783-1047 is owned/operated by Extreme Loans.9

          33.    On June 22, 2023, Plaintiff Miller received a 4th unsolicited call from

Extreme Loans to her cell phone, from 812-875-5008. This call was not answered.

          34.    Frustrated by all the calls she had received, Plaintiff Miller called 812-

875-5008 back on June 22, 2023. She spoke to an employee named Chris Kinaya

who solicited the sale of a mortgage loan/refinancing.

          35.    Kinaya was not forthcoming with the name of the company he works

for. When Plaintiff would ask for the name, Kinaya would continue trying to sell a

mortgage loan.

          36.    Plaintiff felt that she had to display interest in a mortgage so she could

identify the name of the company who was calling her without consent. When she

did this, Kinaya told Plaintiff Miller that he works for Extreme Loans and that the

loans are processed by United Wholesale.

          37.    Plaintiff Miller complained to Kinaya about the unsolicited calls that

she was receiving, demanding that the calls stop.

          38.    Despite her clear stop request, Plaintiff Miller received a 5th unsolicited

telemarketing call from Extreme Loans on June 27, 2023 to her cell phone, again

from 812-875-5008. This call was not answered.




9
    Based on an investigation conducted by Plaintiff’s attorneys.

                                                                                          9
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.10 Filed 07/19/23 Page 10 of 19




      39.   Plaintiff Miller received a 6th unsolicited telemarketing call from

Extreme Loans on July 1, 2023 to her cell phone, again from 812-998-5157. This

call was not answered.

      40.   Plaintiff Miller received other unsolicited calls from Extreme Loans to

her cell phone between June 14, 2023 and June 30, 2023.

      41.   Plaintiff Miller has never done business with Extreme Loans and has

never given them consent to call her phone number.

      42.   The unauthorized solicitation telephone calls that Plaintiff Miller

received from or on behalf of Defendant Extreme Loans have harmed Plaintiff in the

form of annoyance, nuisance, and invasion of privacy, occupied her phone line, and

disturbed the use and enjoyment of her phone.

      43.   Seeking redress for these injuries, Plaintiff Miller, on behalf of herself

and Classes of similarly situated individuals, brings suit under the TCPA.

                             CLASS ALLEGATIONS

      44.   Plaintiff Miller brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seeks certification of the following Classes:

      Do Not Call Registry Class: All persons in the United States who from
      four years prior to the filing of this action through class certification (1)
      Extreme Loans called more than one time, (2) within any 12-month
      period, (3) where the person’s residential telephone number had been
      listed on the National Do Not Call Registry for at least thirty days, (4)
      for substantially the same reason Defendant called Plaintiff.



                                                                                      10
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.11 Filed 07/19/23 Page 11 of 19




      Internal Do Not Call Class: All persons in the United States who from
      four years prior to the filing of this action through class certification (1)
      Defendant Extreme Loans called more than one time on their residential
      telephone number, (2) within any 12-month period (3) for substantially
      the same reason Defendant called Plaintiff, (4) including at least once
      after the Defendant’s records reflect the person requested that they stop
      calling.


      45.    The following individuals are excluded from the Classes: (1) any Judge

or Magistrate presiding over this action and members of their families; (2)

Defendant, its subsidiaries, parents, successors, predecessors, and any entity in

which either Defendant or their parents have a controlling interest and their current

or former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons

who properly execute and file a timely request for exclusion from the Classes; (5)

the legal representatives, successors or assigns of any such excluded persons; and

(6) persons whose claims against the Defendant have been fully and finally

adjudicated and/or released. Plaintiff Miller anticipates the need to amend the Class

definition following appropriate discovery.

      46.    Numerosity and Typicality: On information and belief, there are

hundreds, if not thousands of members of the Classes such that joinder of all

members is impracticable, and Plaintiff is a member of the Classes.

      47.    Commonality and Predominance: There are many questions of law

and fact common to the claims of the Plaintiff and the Classes, and those questions

predominate over any questions that may affect individual members of the Classes.


                                                                                      11
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.12 Filed 07/19/23 Page 12 of 19




Common questions for the Classes include, but are not necessarily limited to the

following:

      (a)    Whether Defendant’s conduct violated the TCPA;

      (b)    Whether Defendant placed multiple calls within a 12-month period to

             Plaintiff and other consumers whose telephone numbers were

             registered with the DNC for at least 30 days of the time of each call;

      (c)    whether Defendant engaged in telemarketing without implementing

             adequate internal policies and procedures for maintaining an internal

             do not call list;

      (d)    whether members of the Classes are entitled to treble damages based

             on the willfulness of Defendant’s conduct.

      48.    Adequate Representation: Plaintiff Miller will fairly and adequately

represent and protect the interests of the Classes, and has retained counsel competent

and experienced in class actions. Plaintiff Miller has no interests antagonistic to

those of the Classes, and the Defendant has no defenses unique to Plaintiff. Plaintiff

Miller and her counsel are committed to vigorously prosecuting this action on behalf

of the members of the Classes, and have the financial resources to do so. Neither

Plaintiff Miller nor her counsel have any interest adverse to the Classes.

      49.    Appropriateness: This class action is also appropriate for certification

because the Defendant has acted or refused to act on grounds generally applicable



                                                                                      12
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.13 Filed 07/19/23 Page 13 of 19




to the Classes and as a whole, thereby requiring the Court’s imposition of uniform

relief to ensure compatible standards of conduct toward the members of the Classes

and making final class-wide injunctive relief appropriate. Defendant’s business

practices apply to and affect the members of the Classes uniformly, and Plaintiff’s

challenge of those practices hinges on Defendant’s conduct with respect to the

Classes as wholes, not on facts or law applicable only to Plaintiff Miller.

Additionally, the damages suffered by individual members of the Classes will likely

be small relative to the burden and expense of individual prosecution of the complex

litigation necessitated by Defendant’s actions. Thus, it would be virtually impossible

for the members of the Classes to obtain effective relief from Defendant’s

misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

                        FIRST CLAIM FOR RELIEF
                    Telephone Consumer Protection Act
                        (Violation of 47 U.S.C. § 227)
         (On Behalf of Plaintiff Miller and the Do Not Registry Class)

      50.    Plaintiff repeats and realleges the prior paragraphs of this Complaint

and incorporates them by reference herein.

      51.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),

provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

residential telephone subscriber who has registered her or her telephone number on

the national do-not-call registry of persons who do not wish to receive telephone

                                                                                    13
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.14 Filed 07/19/23 Page 14 of 19




solicitations that is maintained by the federal government.”

      52.     Any “person who has received more than one telephone call within any

12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” may bring a private action based on a

violation of said regulations, which were promulgated to protect telephone

subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object. 47 U.S.C. § 227(c).

      53.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

be initiated, telephone solicitations to telephone subscribers such as Plaintiff Miller

and the Do Not Call Registry Class members who registered their respective

telephone numbers on the National Do Not Call Registry, a listing of persons who

do not wish to receive telephone solicitations that is maintained by the federal

government.

      54.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Miller and

the Do Not Call Registry Class received more than one telephone call in a 12-month

period made by or on behalf of the Defendant in violation of 47 C.F.R. § 64.1200,

as described above.

      55.     As a result of Defendant’s conduct as alleged herein, Plaintiff Miller

and the Do Not Call Registry Class suffered actual damages and, under section 47

U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for such



                                                                                    14
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.15 Filed 07/19/23 Page 15 of 19




violations of 47 C.F.R. § 64.1200.

      56.   To the extent Defendant’s misconduct is determined to be willful and

knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of

statutory damages recoverable by the members of the Do Not Call Registry Class.

                       SECOND CLAIM FOR RELIEF
                     Telephone Consumer Protection Act
                         (Violation of 47 U.S.C. § 227)
       (On Behalf of Plaintiff Miller and the Internal Do Not Call Class)

      57.   Plaintiff repeats and realleges the prior paragraphs of this Complaint

and incorporates them by reference herein.

      58.   Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any

call for telemarketing purposes to a residential telephone subscriber unless such

person or entity has instituted procedures for maintaining a list of persons who

request not to receive telemarketing calls made by or on behalf of that person or

entity. The procedures instituted must meet the following minimum standards:

            (1) Written policy. Persons or entities making calls for
            telemarketing purposes must have a written policy, available
            upon demand, for maintaining a do-not-call list.
            (2) Training of personnel engaged in telemarketing. Personnel
            engaged in any aspect of telemarketing must be informed and
            trained in the existence and use of the do-not-call list.
            (3) Recording, disclosure of do-not-call requests. If a person or
            entity making a call for telemarketing purposes (or on whose
            behalf such a call is made) receives a request from a residential
            telephone subscriber not to receive calls from that person or
            entity, the person or entity must record the request and place the
            subscriber's name, if provided, and telephone number on the do-

                                                                                 15
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.16 Filed 07/19/23 Page 16 of 19




           not-call list at the time the request is made. Persons or entities
           making calls for telemarketing purposes (or on whose behalf
           such calls are made) must honor a residential subscriber's do-not-
           call request within a reasonable time from the date such request
           is made. This period may not exceed thirty days from the date of
           such request. If such requests are recorded or maintained by a
           party other than the person or entity on whose behalf the
           telemarketing call is made, the person or entity on whose behalf
           the telemarketing call is made will be liable for any failures to
           honor the do-not-call request. A person or entity making a call
           for telemarketing purposes must obtain a consumer's prior
           express permission to share or forward the consumer's request
           not to be called to a party other than the person or entity on whose
           behalf a telemarketing call is made or an affiliated entity.
           (4) Identification of sellers and telemarketers. A person or entity
           making a call for telemarketing purposes must provide the called
           party with the name of the individual caller, the name of the
           person or entity on whose behalf the call is being made, and a
           telephone number or address at which the person or entity may
           be contacted. The telephone number provided may not be a 900
           number or any other number for which charges exceed local or
           long distance transmission charges.
           (5) Affiliated persons or entities. In the absence of a specific
           request by the subscriber to the contrary, a residential
           subscriber's do-not-call request shall apply to the particular
           business entity making the call (or on whose behalf a call is
           made), and will not apply to affiliated entities unless the
           consumer reasonably would expect them to be included given the
           identification of the caller and the product being advertised.
           (6) Maintenance of do-not-call lists. A person or entity making
           calls for telemarketing purposes must maintain a record of a
           consumer's request not to receive further telemarketing calls. A
           do-not-call request must be honored for 5 years from the time the
           request is made.


     59.   Defendant placed calls to Plaintiff and members of the Internal Do Not

Call Class without implementing internal procedures for maintaining a list of


                                                                                  16
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.17 Filed 07/19/23 Page 17 of 19




persons who request not to be called by the entity and/or by implementing

procedures that do not meet the minimum requirements to allow Defendant to initiate

telemarketing calls/text messages.

      60.    The TCPA provides that any “person who has received more than one

telephone call within any 12-month period by or on behalf of the same entity in

violation of the regulations prescribed under this subsection may” bring a private

action based on a violation of said regulations, which were promulgated to protect

telephone subscribers’ privacy rights to avoid receiving telephone solicitations to

which they object. 47 U.S.C. § 227(c)(5).

      61.    Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff and the other members of the Internal Do Not Call

Class are each entitled to up to $1,500 per violation.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays

for the following relief:

        a) An order certifying this case as a class action on behalf of the

            Classes as defined above; appointing Plaintiff as the

            representative of the Classes; and appointing her attorneys as

            Class Counsel;



                                                                                  17
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.18 Filed 07/19/23 Page 18 of 19




       b) An award of money damages and costs;

       c) An order declaring that Defendant’s actions, as set out above,

           violate the TCPA;

       d) An injunction requiring Defendant to cease all unsolicited calling

           activity, and to otherwise protect the interests of the Class; and

       e) Such further and other relief as the Court deems just and proper.




                                  JURY DEMAND

      Plaintiff Miller requests a jury trial.

                                         Respectfully Submitted,

                                         LYNDSEE MILLER, individually and on
                                         behalf of all others similarly situated,


DATED this 19th day of July, 2023.
                                         By: /s/ Stefan Coleman

                                         Stefan Coleman
                                         law@stefancoleman.com
                                         Coleman PLLC
                                         66 West Flagler Street, Suite 900
                                         Miami, FL 33130
                                         Telephone: (877) 333-9427

                                         Avi R. Kaufman
                                         kaufman@kaufmanpa.com
                                         KAUFMAN P.A.


                                                                                18
Case 2:23-cv-11727-LVP-KGA ECF No. 1, PageID.19 Filed 07/19/23 Page 19 of 19




                                   237 S Dixie Hwy, Floor 4
                                   Coral Gables, FL 33133
                                   Telephone: (305) 469-5881

                                   Attorneys for Plaintiff and the putative
                                   Classes




                                                                              19
